                                                                                                           hib_4001-1f2 (1/2018)


         Date Signed:
         November 2, 2018




                                      UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF HAWAII

             MARTINICA FORTALEZA CANIADIDO, and                                Chapter 7              Case No. 18-00499
Debtor(s):
             PERFECTO A CANIADIDO
                                                                                 Related Docket No.:              19
   Unopposed - No Hearing           Hearing held: 10/23/2018                     Presiding Judge:        Robert J. Faris
                                                                                 Automatic Stay
                 ORDER GRANTING RELIEF FROM STAY                                 Codebtor Stay
                                Amended Order                                    Automatic and Codebtor Stays


                   HSBC BANK USA, NATIONAL ASSOCIATION, AS TRUSTEE FOR THE HOLDERS OF THE
Moving Party:      MERRILL LYNCH INVESTORS INC., MORTGAGE PASS-THROUGH CERTIFICATES, MANA
                   SERIES 2007-OAR5, its successors and assigns

Subject property or other matter (address or legal description of property; title of action, etc.):

74-5058 LAPA NUI STREET
KAILUA KONA, HAWAII 96740

State of Hawaii, Bureau of Conveyances, Doc No(s) 2007-136271
   Upon consideration of the above-identified motion and supporting documents, due notice having been
given, and there being no timely opposition filed or for the reasons stated on the record at the hearing:

  1. The motion is GRANTED;

  2. The stay under 11 U.S.C. § 362(a) and/or § 1201(a) or § 1301(a) is terminated or modified and the
moving party, its successors, transferees, and assigns, may exercise any rights and remedies under
applicable nonbankruptcy law with respect to the subject property or other matter described above;




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   3. No deficiency judgment or other money judgment may be entered against the debtor unless and until
the bankruptcy court enters an order (i) denying the debtor a discharge, (ii) determining that the debt owed
to the moving party is not dischargeable, (iii) dismissing the case prior to the entry of a discharge, or (iv)
expressly authorizing the entry of such a judgment;

  4. If the subject property is sold and the proceeds exceed the amount of the secured claim(s), the moving
party must turn over the surplus proceeds to the trustee;

   5. The secured portion of any proof of claim filed by the moving party with respect to the subject
property is deemed withdrawn and the moving party may seek collection of any unsecured deficiency
amount only by filing a proof of claim under 11 U.S.C. § 501, or by amending a previously filed proof of
claim;

  6. This order will remain effective despite the conversion of the case to one under another chapter;

  7. This order is limited to granting relief from the automatic stay and/or the codebtor stay under the
Bankruptcy Code and does not determine any issues concerning any rights, claims, remedies, or defenses of
the moving party, the debtor, or any other party; and

  8. In a chapter 13 case, as soon as practicable after the trustee receives notice of this order, the trustee
shall cease making distributions on all claims secured by the property described above except for funds
then being held by trustee for distribution.

ADDITIONAL PROVISIONS - APPLICABLE ONLY IF CHECKED:
   As explicitly requested in the motion, and based on an adequate factual and legal basis for extraordinary
relief,
   The 14-day stay provided under Fed. R. Bankr. P. 4001(a)(3) does not apply.
   This order provides "in rem" relief under 11 U.S.C. § 362(d)(4) because the filing of the petition was part of
   a scheme to delay, hinder, or defraud creditors that involved transfer of an interest without the secured
   creditor's consent or court approval, or involved multiple bankruptcy filings affecting this property. If
   recorded in compliance with applicable law, this order is binding with respect to the subject property for
   2 years after the date of entry of this order in any other bankruptcy case that has been or may be filed.
   This relief applies retroactively to:

   This relief will become effective on:
   A deficiency judgment may be entered against the chapter 13 codebtor without further order of the
   court.

                                                END OF ORDER
This order submitted by:
TMLF HAWAII, LLLC
DEREK W.C. WONG #4155
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Honolulu, Hawaii 96813
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